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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA




IN RE: BOSTON SCIENTIFIC CORP.,                  Civil Action No. MDL No. 2326
PELVIC REPAIR SYSTEM
PRODUCTS LIABILITY LITIGATION




                     ADVAMED’S OBJECTIONS AND RESPONSES
                       TO PLAINTIFFS’ RULE 45 SUBPOENA

       Pursuant to Rules 26 and 45 of the Federal Rules of Civil Procedure, non-party Advanced

Medical Technology Association (“AdvaMed”) submits the following responses and objections

to the Subpoena that Plaintiffs served on January 23, 2013 (“the Subpoena”). The Subpoena

seeks massive discovery in connection with Plaintiffs’ claims that Defendants defectively

manufactured, defectively designed, failed to warn, negligently designed, manufactured, and

marketed, and breached warranties in connection with certain medical products.

       Rule 45 requires Plaintiffs to take reasonable steps to avoid imposing undue burden and

expense on AdvaMed, a non-party to Plaintiffs’ claims. On its face, the Subpoena falls well

short of this requirement. The Subpoena seeks a broad array of AdvaMed’s documents over a

seven-year period and commands AdvaMed to produce an individual for deposition on a date

unilaterally chosen and a mere three weeks after the subpoena was served. Complying with the

Subpoena as written would impose a substantial burden on AdvaMed and would require

AdvaMed to expend an enormous amount of time and financial resources. Plaintiffs have not

established that they need AdvaMed to conduct these unduly burdensome searches, nor have
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Plaintiffs demonstrated that the benefit of the documents that they seek outweighs the substantial

burden on AdvaMed, a non-party. For these reasons, Plaintiffs have not met their burden under

Rule 45.

       Additionally, AdvaMed objects to the Subpoena to the extent that it seeks information

protected from disclosure by the attorney-client privilege, attorney work product doctrine, or by

any other applicable privilege or immunity from production. Specifically, AdvaMed objects on

the ground that the Subpoena requests information protected by the First Amendment privilege

as disclosure would infringe on AdvaMed’s associational rights.           Nothing contained in

AdvaMed’s objections and responses to the Subpoena is intended to be, or in any way should be

deemed to be, a waiver of any such privilege or immunity. AdvaMed further objects to the

subpoena’s request for a deposition for all of the same reasons. Nonetheless, AdvaMed is

willing to meet and confer with Plaintiffs regarding the scope of the Subpoena requests.

AdvaMed has spoken previously with Plaintiffs’ counsel in the Ethicon (MDL No. 2325) and

AMS (MDL No. 2327) actions and has agreed to consolidate briefing to resolve the remaining

disputes. AdvaMed is prepared to discuss such a schedule as soon as Plaintiffs are coordinated.

                                  GENERAL OBJECTIONS

       The following general objections apply to the Subpoena as a whole, and the Definitions

and Requests for Production in Exhibit A to the Subpoena. The following general objections,

unless otherwise stated, shall have the same force and effect as if set forth in full in the

individual responses to each of the numbered document requests in Exhibit A to the Subpoena.

       1.      AdvaMed objects to the Subpoena to the extent that it imposes an undue burden

upon AdvaMed by requesting information the value of which, if any, is substantially outweighed

by the extensive burden and cost of searching for and compiling it.


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       2.      AdvaMed objects to the Subpoena to the extent that it seeks to impose on

AdvaMed any discovery obligation greater than or inconsistent with those imposed by the

Federal Rules of Civil Procedure or by an order entered by the Court in this matter. AdvaMed

assumes no duty to respond except as specifically required by the Federal Rules or an order of

the Court.

       3.      Any inadvertent production of information protected by the attorney-client

privilege, prepared in anticipation of litigation or trial, or otherwise protected or immune from

discovery shall not constitute a waiver of any privilege or other basis for objecting to the

production of such material or its subject matter. AdvaMed expressly reserves the right to object

to the use or introduction of such information or otherwise to seek the return of such information.

       4.      AdvaMed objects to the Subpoena to the extent that it seeks information that is

protected from disclosure by law, court order, confidentiality, or non-disclosure agreement, or

the disclosure of which would violate the privacy rights of any of AdvaMed’s officers, directors,

employees, or members.

       5.      AdvaMed objects to the Subpoena to the extent that it seeks information that is a

matter of public record, is equally available to the parties in the underlying action, or is already

in a party’s possession, custody, or control.

       6.      AdvaMed’s objections and responses are made without waiving, in any way: (1)

the right to object on any basis permitted by law to the use of any information provided in its

responses for any purpose, in whole or in part, in the underlying action, in any subsequent

proceeding in this action or in any other action; or (2) the right to object on any basis permitted

by law to any other discovery request or proceeding involving or relating to the subject matter of

AdvaMed’s responses.


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       7.        AdvaMed objects to the Subpoena to the extent that it seeks information that is

not relevant to the claim or defense of any party in the underlying action and/or is not reasonably

calculated to lead to the discovery of admissible evidence. By providing responses, AdvaMed

does not concede that the information sought is relevant or reasonably calculated to lead to the

discovery of admissible evidence.

       8.        AdvaMed objects to the Subpoena to the extent that it seeks information or

documents that are not in AdvaMed’s possession, custody, or control.

       9.        AdvaMed objects to the Subpoena because and to the extent that it is vague,

ambiguous, and unclear, including the use of terms that are not defined and/or not otherwise

susceptible to any single meaning.

       10.       The fact that AdvaMed has objected or responded to a document request is not

intended to be and shall not be construed as a waiver of all or part of any objection not stated

with respect to the request.

       11.       AdvaMed incorporates these general objections by reference to each and every

request below.

                               OBJECTIONS TO DEFINITIONS

       1.        AdvaMed objects to the definition of the terms “documents” and “electronically-

stored information” as vague and ambiguous, overbroad and unduly burdensome. AdvaMed

further objects to this definition to the extent that it seeks information that is protected from

disclosure by law, court order, confidentiality, or non-disclosure agreement, or the disclosure of

which would violate the privacy rights of any of AdvaMed’s officers, directors, employees, or

members. AdvaMed further objects to the definition to the extent that it seeks information or

documents that are not in AdvaMed’s possession, custody, or control. AdvaMed further objects


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to the definition to the extent that it seeks information protected from disclosure by the attorney-

client privilege, attorney work product doctrine, First Amendment privilege, or by any other

applicable privilege or immunity from production. AdvaMed also objects to this definition to the

extent that it seeks information that is not relevant or reasonably calculated to lead to the

discovery of admissible evidence. AdvaMed further objects to this definition to the extent it

requires AdvaMed to produce electronically stored information in the absence of agreed-upon

parameters for the production of electronically stored information. AdvaMed is willing to meet

and confer with Plaintiffs to determine the appropriate production form for certain categories of

documents, including electronically stored information.

                        SPECIFIC OBJECTIONS AND RESPONSES

Document Request No. 1

       All documents concerning the risks, safety, or efficacy of transvaginal surgical mesh

products from 2005 to present, including but not limited to the AdvaMed members and/or

manufactures identified supra at 1-2.

Objections and Response to Document Request No. 1

       AdvaMed incorporates its General Objections and its Objections to Definitions in

response to Document Request No. 1. AdvaMed objects to this request on the ground that it is

vague and ambiguous and contains undefined terms. In addition, AdvaMed objects to this

request on the grounds that it is overbroad and unduly burdensome, particularly to the extent it

seeks “all documents” responsive to this topic. Plaintiffs have not articulated why they need “all

documents” responsive to this request, as opposed to a narrower set of documents, and therefore

have not met their obligation under Rule 45 of the Federal Rules to avoid imposing undue burden

and expense on AdvaMed. AdvaMed objects to this request to the extent it seeks information

that is not relevant to the claim or defense of any party in the above-captioned proceeding or is
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not reasonably calculated to lead to the discovery of admissible evidence. AdvaMed also objects

to this request on the ground that it seeks competitively sensitive and confidential business

information and/or information protected by the attorney-client privilege, work product doctrine,

First Amendment privilege, or any other privilege. AdvaMed also objects to this request to the

extent it requests documents that are already in a party’s possession, custody, or control and/or

documents that are not in AdvaMed’s possession, custody, or control.

Document Request No. 2

       All documents concerning the preparation, presentation or attendance on behalf of

AdvaMed or its transvaginal surgical mesh product manufacturer members during the Obstetrics

and Gynecology Devices Panel of the United States Food and Drug Administration (“FDA”)’s

Medical Devices Advisory Committee held on September 8 and 9, 2011, including but not

limited to:

              a.      Preparation of the Docket Submission to the September 8 and 9, 2011
                      Obstetrics and Gynecology Devices Panel entitled “Safety and
                      Effectiveness of Transvaginal Surgical Mesh Used For Repair Of Pelvic
                      Organ Prolapse;”

              b.      Scientific literature discussing the risks, safety and efficacy of transvaginal
                      surgical mesh products;

              c.      Premarket clinical and preclinical studies, and postmarket studies
                      evaluating the safety and effectiveness of transvaginal surgical mesh for
                      the treatment of pelvic organ prolapse or stress urinary incontinence;

              d.      The classification of the transvaginal surgical mesh products to Class III
                      (Premarket Approval);

              e.      Discussion, analysis of, or reference to FDA’s 510(k) decision or
                      submission process, including science reports; and

              f.      Premarket and postmarket review protocols, policies, or procedures.

Objections and Response to Document Request No. 2



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       AdvaMed incorporates its General Objections and its Objections to Definitions in

response to Document Request No. 2. AdvaMed objects to this request on the ground that it is

vague and ambiguous and contains undefined terms. In addition, AdvaMed objects to this

request on the grounds that it is overbroad and unduly burdensome, particularly to the extent it

seeks “all documents” responsive to this topic. Plaintiffs have not articulated why they need “all

documents” responsive to this request, as opposed to a narrower set of documents, and therefore

have not met their obligation under Rule 45 of the Federal Rules to avoid imposing undue burden

and expense on AdvaMed. AdvaMed objects to this request to the extent it seeks information

that is not relevant to the claim or defense of any party in the above-captioned proceeding or is

not reasonably calculated to lead to the discovery of admissible evidence. AdvaMed also objects

to this request on the ground that it seeks competitively sensitive and confidential business

information and/or information protected by the attorney-client privilege, work product doctrine,

First Amendment privilege, or any other privilege. AdvaMed also objects to this request to the

extent it requests documents that are already in a party’s possession, custody, or control and/or

documents that are not in AdvaMed’s possession, custody, or control.

Document Request No. 3

       All documents concerning the industry working group fanned by AdvaMed from 2005 to

present, known as the “Transvaginal Mesh Industry Working Group,” including but not limited

to the following concerning transvaginal surgical mesh products:

               a.     Preparation of the Docket Submission to the September 8 and 9, 2011
                      Obstetrics and Gynecology Devices Panel entitled “Safety and
                      Effectiveness of Transvaginal Surgical Mesh Used For Repair Of Pelvic
                      Organ Prolapse;”

               b.     Scientific literature discussing the risks, safety and efficacy of transvaginal
                      surgical mesh products;


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               c.     Premarket clinical and preclinical studies, and postmarket studies
                      evaluating the safety and effectiveness of transvaginal surgical mesh for
                      the treatment of pelvic organ prolapse or stress urinary incontinence;

               d.     The declassification of the transvaginal surgical mesh products to Class III
                      (Premarket Approval);

               e.     Discussion, analysis of, or reference to FDA’s 510(k) decision or
                      submission process, including science reports;

               f.     Premarket and postmarket review protocols, policies, or procedures;

               g.     Meeting minutes, notes or memoranda from organizational group
                      meetings; and

               h.     Any communications and submissions made in anticipation to or in
                      response to otherwise relating to the FDA’s “Section 522 Order” issued in
                      January 2012.

Objections and Response to Document Request No. 3

       AdvaMed incorporates its General Objections and its Objections to Definitions and in

response to Document Request No. 3. AdvaMed objects to this request on the ground that it is

vague and ambiguous and contains undefined terms. In addition, AdvaMed objects to this

request on the grounds that it is overbroad and unduly burdensome, particularly to the extent it

seeks “all documents” responsive to this topic. Plaintiffs have not articulated why they need “all

documents” responsive to this request, as opposed to a narrower set of documents, and therefore

have not met their obligation under Rule 45 of the Federal Rules to avoid imposing undue burden

and expense on AdvaMed. AdvaMed further objects to this request to the extent it seeks

information that is not relevant to the claim or defense of any party in the above-captioned

proceeding or is not reasonably calculated to lead to the discovery of admissible evidence.

AdvaMed also objects to this request to the extent it requests documents that are already in a

party’s possession, custody, or control and/or documents that are not in AdvaMed’s possession,

custody, or control. AdvaMed also objects to this request to the extent that it seeks competitively


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sensitive and confidential business information and/or information protected by the attorney-

client privilege, work product doctrine, First Amendment privilege, or any other privilege.

Document Request No. 4

       All documents by AdvaMed or its member companies’ relating to communications and

submissions with or to legislators, regulators, domestic and foreign governmental bodies, health

care providers, medical societies and patient organizations, concerning the risks, safety, efficacy,

or the FDA 510(k) decision or submission process, of transvaginal surgical mesh products from

2005 to present.

Objections and Response to Document Request No. 4

       AdvaMed incorporates its General Objections and its Objections to Definitions and in

response to Document Request No. 4. AdvaMed objects to this request on the ground that it is

vague and ambiguous and contains undefined terms. In addition, AdvaMed objects to this

request on the grounds that it is overbroad and unduly burdensome, particularly to the extent it

seeks “all documents” responsive to this topic. Plaintiffs have not articulated why they need “all

documents” responsive to this request, as opposed to a narrower set of documents, and therefore

have not met their obligation under Rule 45 of the Federal Rules to avoid imposing undue burden

and expense on AdvaMed. AdvaMed further objects to this request to the extent it seeks

information that is not relevant to the claim or defense of any party in the above-captioned

proceeding or is not reasonably calculated to lead to the discovery of admissible evidence.

AdvaMed also objects to this request to the extent it requests documents that are already in a

party’s possession, custody, or control and/or documents that are not in AdvaMed’s possession,

custody, or control. AdvaMed also objects to this request to the extent that it seeks competitively




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sensitive and confidential business information and/or information protected by the attorney-

client privilege, work product doctrine, First Amendment privilege, or any other privilege.

Document Request No. 5

       All documents or communications concerning the risks, safety and efficacy of

transvaginal surgical mesh products presented by AdvaMed at any medical technology

conference from 2005 to present.

Objections and Response to Document Request No. 5

       AdvaMed incorporates its General Objections and its Objections to Definitions and in

response to Document Request No. 5. AdvaMed objects to this request on the ground that it is

vague and ambiguous and contains undefined terms. In addition, AdvaMed objects to this

request on the grounds that it is overbroad and unduly burdensome, particularly to the extent it

seeks “all documents” responsive to this topic. Plaintiffs have not articulated why they need “all

documents” responsive to this request, as opposed to a narrower set of documents, and therefore

have not met their obligation under Rule 45 of the Federal Rules to avoid imposing undue burden

and expense on AdvaMed. AdvaMed further objects to this request to the extent it seeks

information that is not relevant to the claim or defense of any party in the above-captioned

proceeding or is not reasonably calculated to lead to the discovery of admissible evidence.

AdvaMed also objects to this request to the extent it requests documents that are already in a

party’s possession, custody, or control and/or documents that are not in AdvaMed’s possession,

custody, or control. AdvaMed also objects to this request to the extent that it seeks competitively

sensitive and confidential business information and/or information protected by the attorney-

client privilege, work product doctrine, First Amendment privilege, or any other privilege.




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Document Request No. 6

       All documents communicated by AdvaMed or its transvaginal surgical mesh product

manufacturer members with the medical relations organization “newsPRo,” concerning the risks,

safety, efficacy, or the FDA 510(k) decision or submission process of the transvaginal surgical

mesh products from 2005 to present.

Objections and Response to Document Request No. 6

       AdvaMed incorporates its General Objections and its Objections to Definitions and in

response to Document Request No. 6. AdvaMed objects to this request on the ground that it is

vague and ambiguous and contains undefined terms. In addition, AdvaMed objects to this

request on the grounds that it is overbroad and unduly burdensome, particularly to the extent it

seeks “all documents” responsive to this topic. Plaintiffs have not articulated why they need “all

documents” responsive to this request, as opposed to a narrower set of documents, and therefore

have not met their obligation under Rule 45 of the Federal Rules to avoid imposing undue burden

and expense on AdvaMed. AdvaMed further objects to this request to the extent it seeks

information that is not relevant to the claim or defense of any party in the above-captioned

proceeding or is not reasonably calculated to lead to the discovery of admissible evidence.

AdvaMed also objects to this request to the extent it requests documents that are already in a

party’s possession, custody, or control and/or documents that are not in AdvaMed’s possession,

custody, or control. AdvaMed also objects to this request to the extent that it seeks competitively

sensitive and confidential business information and/or information protected by the attorney-

client privilege, work product doctrine, First Amendment privilege, or any other privilege.

Document Request No. 7

       All documents relating to the FDA’s “Section 522 Order” issued in January 2012.


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Objections and Response to Document Request No. 7

         AdvaMed incorporates its General Objections and its Objections to Definitions and in

response to Document Request No. 7. AdvaMed objects to this request on the ground that it is

vague and ambiguous and contains undefined terms. In addition, AdvaMed objects to this

request on the grounds that it is overbroad and unduly burdensome, particularly to the extent it

seeks “all documents” responsive to this topic. Plaintiffs have not articulated why they need “all

documents” responsive to this request, as opposed to a narrower set of documents, and therefore

have not met their obligation under Rule 45 of the Federal Rules to avoid imposing undue burden

and expense on AdvaMed. AdvaMed further objects to this request to the extent it seeks

information that is not relevant to the claim or defense of any party in the above-captioned

proceeding or is not reasonably calculated to lead to the discovery of admissible evidence.

AdvaMed also objects to this request to the extent it requests documents that are already in a

party’s possession, custody, or control and/or documents that are not in AdvaMed’s possession,

custody, or control. AdvaMed also objects to this request to the extent that it seeks competitively

sensitive and confidential business information and/or information protected by the attorney-

client privilege, work product doctrine, First Amendment privilege, or any other privilege.

Dated:         January 23, 2013              Respectfully submitted,

                                              //s// Allen M. Gardner      _____________
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                              CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on January 23, 2013, I caused a true and correct

copy of the foregoing to be served by email and Federal Express on the following counsel

identified in the Subpoena:

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                                                  //s// Allen M. Gardner    _______
                                                  Allen M. Gardner




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